          Case 2:15-cr-00133-SMJ            ECF No. 155         filed 12/28/16                          ofFILED
                                                                                     PageID.600 Page 1U.S.  1 IN THE
                                                                                                           DISTRICT COURT
PS 8                                                                                                    EASTERN DISTRICT OF WASHINGTON
(3/15)


                               UNITED STATES DISTRICT COURT                                             Dec 28, 2016
                                                                                                             SEAN F. MCAVOY, CLERK

                                                              for
                                            Eastern District of Washington


 U.S.A. vs.                  Fleitas, Carlos Manuel                       Docket No.             2:15CR00133-SMJ-3


                                 Petition for Action on Conditions of Pretrial Release

COMES NOW Erik Carlson, PRETRIAL SERVICES OFFICER presenting an official report upon the conduct of defendant
Carlos Manuel Fleitas, who was placed under pretrial release supervision by the Honorable U.S. Magistrate Judge Cynthia
Imbrogno, sitting in the Court at Spokane, Washington, on the 26th day of May 2016, under the following conditions:

Special Condition #28: GPS Monitoring: The Defendant shall participate in a program of GPS confinement. The Defendant
shall wear, at all times, a GPS device under the supervision of U.S. Probation. In the event the Defendant does not respond
to GPS monitoring or cannot be found, the U.S. Probation Office shall forthwith notify the United States Marshals’ Service,
who shall immediately find, arrest and detain the Defendant. The Defendant shall pay all oar part of the cost based on ability
to pay as determined by the U.S. Probation Office.

         RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

Violation #1: A GPS jam detect alert occurred on the defendant’s location monitoring equipment on November 11, 2016.


                     PRAYING THAT THE COURT WILL ORDER NO ACTION AT THIS TIME

                                                                            I declare under the penalty of perjury
                                                                            that the foregoing is true and correct.
                                                                            Executed on:       December 28, 2016
                                                                    by      s/Erik Carlson
                                                                            Erik Carlson
                                                                            U.S. Pretrial Services Officer

 THE COURT ORDERS
 [X ] No Action
 [ ]  The Issuance of a Warrant
 [ ]  The Issuance of a Summons
 [ ]  The incorporation of the violation(s) contained in this
       petition with the other violations pending before the
       Court.
 [ ]  Defendant to appear before the Judge assigned to the case.
 [ ]  Defendant to appear before the Magistrate Judge.
 [ ]  Other
                                                                              Signature of Judicial Officer
                                                                                 December 28, 2016

                                                                              Date
